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  1                  IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
  2                             TAMPA DIVISION

  3

  4
            NATIONAL SOURCING, INC.,    :
  5         et al,                      :
                                        :
  6               Plaintiff,            :
                                        :                 CIVIL        8:17-cv-1950-CEH
  7                                     :                 NO.:         -JSS
            vs.                         :
  8                                     :                 DATE:        12/05/2017
                                        :
  9         STEPHEN R. BRACCIALE, et    :                 TIME:        10:03 a.m.
            al,                         :
 10                                     :                 PAGES:       1 - 79
                  Defendants.           :
 11         --------------------------- :

 12

 13
                         TRANSCRIPT OF MOTION HEARING
 14                  BEFORE THE HONORABLE JULIE S. SNEED
                        UNITED STATES MAGISTRATE JUDGE
 15

 16

 17

 18

 19

 20
          Court Reporter: Lynann Nicely, RPR, RMR, CRR
 21              Official Court Reporter
                 801 N. Florida Avenue
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 23
          Proceedings recorded and transcribed by computer-aided
 24       stenography.

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  1                             A P P E A R A N C E S

  2

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  1                   P R O C E E D I N G S

  2               THE COURT:         Hello and good morning to

  3       everyone.      We're here in the case of National

  4       Sourcing Inc. and Pedro Valdez vs. Mr. Bracciale, et

  5       al, Case 8:17-cv-1950.               Can I have the lawyers

  6       please state your appearances.

  7               MR. DEES:        Kevin Dees on behalf of the

  8       plaintiff National Sourcing, Inc.

  9               MR. LILLY:         Your Honor, Scott Lilly on behalf

 10       of Pedro Valdez.           I also have in the courtroom Pedro

 11       Valdez.

 12               THE COURT:         Good morning.

 13               MR. LILLY:         I have a paralegal in the

 14       courtroom, Your Honor, as well; if you would like

 15       me, I can give her name.

 16               THE COURT:         That's up to you.

 17               MR. LILLY:         Greg Karsh is also counsel of

 18       record, he's in the courtroom behind the bar.

 19               THE COURT:         Very well.          Good morning to all of

 20       you.

 21               MR. KEHOE:         Good morning, Your Honor, Gregory

 22       Kehoe and Daniel Kemp for the defendants and with me

 23       at counsel table on behalf of Greenberg Traurig is

 24       Mr. Dennis Waggoner, he will be representing us.

 25       Also to the far left is a member of our staff --
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  1       attorney in the general counsel's office at

  2       Greenberg Traurig, Susan Tarve.                     And likewise

  3       Mr. Bracciale and Ms. Tamara are before the court.

  4               THE COURT:         Very well, good morning.

  5               MR. WAGGONER:           Good morning, Your Honor,

  6       Dennis Waggoner for Greenberg Traurig and my

  7       colleague Kristina Gandre is with me here this

  8       morning as well.

  9               THE COURT:         Good morning to all of you.              We do

 10       have a number of preliminary issues that you all may

 11       want to discuss.           I want to give you an opportunity

 12       not to really go in depth into these issues but I

 13       did notice that they were filed.

 14               There is a motion to quash a subpoena and a

 15       motion to strike plaintiff's sworn declaration.

 16       Again, I note that those items have been filed;

 17       they're not set for hearing today.                       Is there

 18       anything you want to say about those?

 19               MR. KEHOE:         On the motion to strike, Judge, it

 20       was something that was -- it was an item that was

 21       filed by the plaintiffs the night before last, well

 22       after any deadline, without any permission from the

 23       court, they just filed it.                 And we moved to strike

 24       it because it's outside the time limits set by the

 25       local rules and the Federal Rules of Civil
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  1       Procedure.

  2                THE COURT:        And on the motion to quash

  3       subpoena?

  4                MR. KEHOE:        Well, Your Honor, that was --

  5       apparently we understood that this was not an

  6       evidentiary hearing, that it was here for argument.

  7       So with regard to quashing the subpoena, it was not

  8       intended.      Our understanding from Your Honor's

  9       chambers was that this was not going to be an

 10       evidentiary hearing, so we made that motion to

 11       quash.    We just didn't want to let the subpoenas sit

 12       out there without bringing to Your Honor's attention

 13       to say yes, we've seen it and we're just giving Your

 14       Honor the benefit of how we see that particular

 15       subpoena should be handled.

 16                MR. DEES:       As to the motion to quash, Your

 17       Honor, we had withdrawn the subpoenas in terms of

 18       witness attendance.             We had asked Greenberg Traurig

 19       to bring isolated documents we requested in the

 20       subpoenas to the hearing today.                     I think the motion

 21       to quash has largely been resolved.                       We were not

 22       aware this was not going to be an evidentiary

 23       hearing and when we confirmed that with the court's

 24       offices, we said of course we won't force the

 25       witnesses to attend today.
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  1               I don't know that they brought the invoices --

  2       we pared it down to just bringing the invoices that

  3       were submitted to my client, National Sourcing, from

  4       Greenberg Traurig for payment and we requested they

  5       bring them for in camera review.                     There is some

  6       assertion of privilege.               But for today's purposes we

  7       can move forward without the subpoenaed witnesses

  8       and documents.

  9               With regard to the motion to strike, again,

 10       for several months now we had requested the

 11       documents that belonged we thought to our own

 12       client, National Sourcing, and they were not

 13       provided to us and so what we had to do was go

 14       through old laptops and computers and do forensic

 15       analysis to show some of the additional documents

 16       that we may want to present to the court.

 17               However, if the court will review them we'd be

 18       very pleased.         I think there is no issue with

 19       authenticating those documents.                     However, we can go

 20       forward on what's attached to our motion which would

 21       be enough to consider the motion.

 22               THE COURT:         All right.          So on the motion to

 23       quash subpoena, it appears that you all at least

 24       have resolved the issue related to the evidentiary

 25       presentation of any witnesses.
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  1                This isn't set for an evidentiary hearing, I

  2       didn't contemplate or provide notice to you that I

  3       will be taking any testimony, I don't intend to take

  4       any testimony here today.                 So that is how that

  5       aspect will be resolved.                And I also agree that it

  6       is really a little early for discovery at this

  7       point.    Do you all have a case management and

  8       scheduling order?

  9                MR. DEES:       We do not have one in place, Your

 10       Honor, we wanted this motion to disqualify resolved.

 11       We had some questions about whether we could even

 12       negotiate with our clients' own attorneys.

 13                THE COURT:        So you haven't had a case

 14       management meeting at this point?

 15                MR. DEES:       We had one attempt at it and drafts

 16       prepared, but we have not negotiated a final for

 17       submission.

 18                MR. KEHOE:        The fact is, Judge, to supplement,

 19       we attempted to do it and plaintiffs were completely

 20       unprepared to move forward at that case

 21       management --

 22                MR. DEES:       I would dispute that.

 23                THE COURT:        All right.

 24                MR. KEHOE:        That's what happened.                  So it

 25       didn't happen.
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  1               THE COURT:         Now, it may be too early for you

  2       to have filed a response to that motion to quash

  3       subpoena.      You have not filed a written response

  4       yet?

  5               MR. DEES:        No, we have not.              As I said, in

  6       terms of compelling witnesses to attend, we would

  7       not seek any sort of -- to compel those witnesses to

  8       attend; obviously we're not taking evidence.                            So.

  9               THE COURT:         All right.          Well, I am going to

 10       grant that motion.            Again, it's not set for hearing

 11       today, so if there is -- do you think that you would

 12       need to file a memo on that because --

 13               MR. DEES:        We would like to.               To the extent --

 14       if Your Honor -- we can reissue the subpoenas, we

 15       can consider those withdrawn.                   However, if we end up

 16       taking evidence on this issue, which I think may be

 17       appropriate, then we would have to reissue them.

 18               THE COURT:         All right.          Well, so you said two

 19       things, that you -- I could consider them withdrawn.

 20               MR. DEES:        Yes, you may.

 21               THE COURT:         All right.          So I am going to grant

 22       that motion to quash the subpoena.                       This is really

 23       not an evidentiary hearing and it's too early for

 24       discovery to take place at this point.                            You can feel

 25       free to reissue those at the appropriate time once
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  1       you all have that case management meeting and you

  2       have a case management and scheduling order.

  3               On the motion to strike, it does appear that

  4       it's a sworn declaration that was filed and it

  5       wasn't really in the nature of a reply, although it

  6       was filed on the eve of the hearing.                        We would

  7       prefer to have those things filed much earlier.                        I

  8       don't know why -- any reason why you couldn't have

  9       filed it earlier along with your response.

 10               So I'm not going to strike it, but I will not

 11       have any argument on that today.                     And if the defense

 12       would like, you all are free to file any additional

 13       response or supplemental memorandum related to that

 14       declaration if you would like to do that and I'll

 15       give you 20 days to do that if you would like to.

 16       I'm not telling you that you need to, but you can if

 17       you would like and then today we won't talk about

 18       the sworn declaration.               All right?

 19               Now, does that cover all the preliminary

 20       issues?

 21               MR. DEES:        I believe so, Your Honor.

 22               MR. KEHOE:         I believe so, Your Honor.

 23               THE COURT:         Now, let's go forward on the

 24       motion.     Go right ahead.

 25               MR. KEHOE:         Your Honor, at this point I'm
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  1       going to give the floor to Mr. Waggoner,

  2       Mr. Waggoner will take over for argument.

  3                THE COURT:        That's fine.

  4                MR. DEES:       Your Honor, the crux of this action

  5       is -- by way of background, plaintiff National

  6       Sourcing Inc. is a Service-Disabled Veteran-Owned

  7       Small Business, an SDVOSB.                 Still gets me marble

  8       mouthed to say it to the court.                     And because of

  9       that, National Sourcing is subject to certain

 10       federal regulations and has certain preferential

 11       rights in terms of being on government contracts.

 12                In connection with evaluating its SDVOSB

 13       status for a term of years, we contend that

 14       Greenberg Traurig was its counsel.                       In particular,

 15       in the complaint that we filed we have contended

 16       that the instruments by which Mr. Valdez took

 17       ownership of the company violate those federal

 18       regulations and aren't enforceable, induced by fraud

 19       and a number of things.

 20                There were some proceedings held before in

 21       state court in Hillsborough County and the first

 22       indication that we received regarding who the

 23       counsel was in connection with preparing the

 24       promissory note, a security agreement secured by all

 25       the assets of the company, a stock pledge, a
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  1       shareholders agreement, and a couple of other

  2       instruments, meeting minutes for the corporation

  3       National Sourcing.            The counsel in regards to those

  4       was a gentleman by the name of Mr. William Dunker --

  5                THE COURT:        What time period was that, was

  6       that 2011?

  7                MR. DEES:       2013.

  8                THE COURT:        So you're saying that those things

  9       were drafted by Mr. Dunker in 2013?

 10                MR. DEES:       Yes.      May I approach, Your Honor,

 11       with some -- just to walk you through the actual

 12       documents and testimony?                It's just a few things.

 13       Now, I'm not going to show --

 14                THE COURT:        Are those things attached to

 15       the --

 16                MR. DEES:       They are.

 17                THE COURT:        -- motion?

 18                MR. DEES:       The ones I would have the court

 19       review, yes.

 20                THE COURT:        Just tell me, what exhibit is it?

 21                MR. DEES:       In terms of verified motion, it

 22       would be Exhibit A would be the first bit of

 23       testimony that I would walk the court through.

 24                THE COURT:        All right.

 25                MR. DEES:       And again we're talking about loan
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  1       instruments, security agreements, stock pledges, and

  2       that sort of thing.

  3                On Exhibit A Mr. Bracciale, who is the

  4       defendant in this case, was asked in the previous

  5       proceedings by counsel for Mr. Valdez who prepared

  6       the loan documents.

  7                Answer:      A lawyer.

  8                Which lawyer?

  9                Bill Dunker.

 10                And who did he represent?

 11                Mr. Bracciale testified, "I asked him to be a

 12       neutral party."

 13                And then there were questions about who paid

 14       him.    And Mr. Bracciale said, "I asked him to

 15       prepare the loan documents that we mutually

 16       discussed with him."

 17                And then he was asked about structuring the

 18       operating agreement -- I believe he means

 19       shareholder agreement -- for National Sourcing which

 20       would allow Mr. Valdez control of the company and

 21       that they would present to the U.S. government in

 22       order to be compliant with the federal regulations.

 23       And Mr. Bracciale answered, and it's in the

 24       testimony here, that Mr. Dunker of Greenberg Traurig

 25       represented National Sourcing and Mr. Valdez in
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  1       connection with those documents.

  2                So those are the very documents that are

  3       attached to the complaint in this action, those

  4       documents being the shareholders agreement, the

  5       stock pledge, the promissory note, the security

  6       agreement and so on.

  7                And that's testimony from Mr. Bracciale, the

  8       defendant himself, saying that he had, one, asked

  9       him to be a neutral party in connection with

 10       Mr. Valdez's debt, and secondly, that Mr. Dunker

 11       represented National Sourcing in connection with

 12       representations to the United States federal

 13       government.

 14                Now, attached to that motion as well, at the

 15       time of the hearing I was appearing for counsel the

 16       very first time I had appeared in a hearing and I

 17       asked for some documentation from my client which

 18       was very limited, but Exhibit E to that motion is

 19       the actual email that Mr. Dunker transmitted to

 20       Mr. Bracciale at his email address at National

 21       Sourcing and that's on page 8 of our motion.

 22                For the convenience of the court I can

 23       bring --

 24                THE COURT:        Page 8 of the motion?

 25                MR. DEES:       There is an image of it on page 8
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  1       of the motion, attached as Exhibit E to the motion.

  2                THE COURT:        I've got it.

  3                MR. DEES:       And you can see here Mr. Dunker

  4       from GT Law, Greenberg Traurig, transmitting these

  5       documents to Mr. Bracciale at NationalSourcing.com.

  6       This is at a time when Mr. Bracciale is an employee

  7       of the corporation but is not a shareholder at that

  8       time or an officer.             So he's receiving these for the

  9       corporation.

 10                The documents listed in the attachments on

 11       Exhibit E are the very documents that we're

 12       litigating now and some of those being organic

 13       documents of the company, one of those being the

 14       shareholder agreement from -- that's been revised

 15       for 2013, another being the corporate and board

 16       meeting minutes.           And these are again coming from

 17       Greenberg Traurig.

 18                Also in our motion we've included National

 19       Sourcing's accounting records from around that time

 20       and those are not an attachment, but there is a true

 21       and correct image in the motion at page 9 showing at

 22       least as far back as 2012 National Sourcing was

 23       paying bills and invoices from Greenberg Traurig,

 24       one of those being right around the time these

 25       documents were prepared in April of 2013.
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  1                Now, these go from 2012 to 2014 and you can

  2       see them there with payments being made.                          We also

  3       have a check that's of record for at least one of

  4       these invoices.

  5                Now, we believe they go back further, but the

  6       accounting system was changed, which brings to light

  7       an issue that I have in this case.                       Greenberg

  8       Traurig I believe has more of the documentation

  9       relative to these transactions and my client than I

 10       do.    And so as I've asked for my client -- what I

 11       believe to be my client's own documents, invoices

 12       that were submitted to them for payment, documents

 13       that were transmitted to them for signature, I've

 14       not received them.

 15                And I understand Your Honor's ruling that

 16       discovery at this stage would be inappropriate.

 17       However, I believe I'm asking for documents that are

 18       actually my client's own corporate records, amongst

 19       those being the very invoices that I've listed on

 20       page 9 of the motion that my client paid.                          Clearly

 21       if you submit an invoice to a company and they pay

 22       it, particularly from an attorney, that would become

 23       part of their own business records.

 24                Within the shareholder agreement that's listed

 25       in this email from April of 2013 there is a recital.
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  1       And this was forwarded to Mr. Valdez, the current

  2       president of National Sourcing, for signature.                    The

  3       attachment was a draft and recital that sets forth

  4       in the motion says, "The undersigned" -- this is at

  5       paragraph 40 of the shareholder agreement -- "the

  6       undersigned acknowledge and agree that Greenberg

  7       Traurig PA and William L. Dunker, Esquire,

  8       collectively the attorney, have represented the

  9       corporation in the preparation of this agreement."

 10       That is, they have represented -- they have

 11       represented the corporation.                   And they go on to say

 12       we don't represent the shareholders, we represent

 13       the corporation.

 14                Additionally, Judge, we have an issue here

 15       where defendant Tek Source USA, also represented by

 16       Greenberg in this particular action, has and has had

 17       access to the corporate documents because Tek Source

 18       USA handled the payables and receivables for

 19       National Sourcing and one of the attachments to the

 20       motion or one of the inclusions in the motion are

 21       recent National Sourcing bank records.

 22                And so counselor for Greenberg Traurig,

 23       representing the company that has access to the bank

 24       records and the accounting records for National

 25       Sourcing, is actually still at least up until the
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  1       time of this check in August of 29, able to access

  2       my client's bank records.                 And so we have very, very

  3       serious confidentiality concerns.                      Greenberg Traurig

  4       would seem to be sitting on a rather large pile of

  5       my client's corporate records due to this

  6       representation back in 2013.

  7                So as I stand here today, Mr. Bracciale has

  8       testified that he believed that Greenberg Traurig

  9       represented National Sourcing.                    We all know and I

 10       don't think it's disputed that Greenberg Traurig

 11       prepared the very documents that are attached to our

 12       complaint and are at the center of this action.                        And

 13       the documents themselves would indicate that

 14       Greenberg Traurig represented National Sourcing at

 15       the very same time as the transactions at issue, and

 16       actually transmitted those documents with the

 17       documents for the transactions at issue.

 18                The standard on the motion to disqualify, as

 19       the court is likely aware, is we have to establish

 20       the attorney-client relationship which is based on

 21       the client's subjective understanding of whether

 22       that relationship exists.                 I would submit to the

 23       court that it's not a subjective understanding here,

 24       it's an objective understanding.                     These documents

 25       indicate very clearly that Greenberg Traurig
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  1       represented the corporation.                   However, we have

  2       attached additional documents to our sworn

  3       declaration -- I understand the court is not going

  4       to let us argue those today, but that would set out

  5       a longitudinal record of what we understand the

  6       representation to be.

  7                And as is included in our motion, time and

  8       again over the course of the history of the company

  9       at least from 2010 to 2014, Greenberg Traurig and

 10       Mr. Dunker drafted documents for the company's

 11       submission to the United States federal government

 12       to the VA in connection with their compliance for

 13       signature by a Mr. Wolfson who was the first CEO --

 14       I'm sorry, Mr. Stanton who was the first CEO,

 15       Mr. Wolfson who was the second CEO, and Mr. Valdez

 16       as well.

 17                And so throughout this time Greenberg Traurig

 18       is assisting the corporation in drafting documents

 19       for the officers' signature in submission to the

 20       Veterans Administration government entities as well.

 21                THE COURT:        At the time that Mr. Valdez became

 22       the owner of the National Sourcing company did he

 23       meet with Greenberg Traurig's attorneys at all?

 24                MR. DEES:       He communicated with them.               I can't

 25       say at this point to offer testimony that he met
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  1       with Mr. -- he knows who Mr. Dunker is and after the

  2       initial hearing that I mentioned, he said yes, I

  3       know who Bill Dunker is --

  4                THE COURT:        He's never met with him?

  5                MR. LILLY:        Your Honor, that's not correct.

  6       As I represent Mr. Valdez, he has met with

  7       Mr. Dunker.

  8                THE COURT:        Did that take place back at the

  9       time of the sales or purchase transaction?

 10                MR. LILLY:        Yes.

 11                MR. WAGGONER:          They [inaudible] counsel for

 12       Mr. Dunker.

 13                MR. DEES:       Your Honor, just briefly, obviously

 14       we're going to rely on the papers because that's

 15       what we're here for.             When I get up and respond, I'm

 16       going to respond to the fact that there is nothing

 17       in their papers that would make such a suggestion.

 18       So just for purposes of the record what has now been

 19       represented is not within the four corners of the

 20       papers that are before Your Honor.

 21                THE COURT:        All right.          Let me ask, with

 22       respect to those documents that you have highlighted

 23       already, is there anything in those documents that

 24       would talk about Mr. Valdez's relationship as the

 25       owner with Greenberg Traurig?
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  1                MR. DEES:       Other than the shareholder

  2       agreement that he was asked to sign, the ultimate

  3       shareholder agreement that he did sign was a

  4       different draft.           But at the time this draft was

  5       presented, that was made for his signature and had

  6       the representation that I mentioned to the court

  7       that Greenberg Traurig represented the corporation.

  8                THE COURT:        Now, say that again.                   You said

  9       there was a different agreement?

 10                MR. DEES:       Yes.      Mr. Dunker ultimately -- my

 11       understanding is -- left Greenberg Traurig and

 12       prepared a second draft very similar to the one that

 13       was attached to his email from Greenberg Traurig

 14       that was ultimately signed that had the same recital

 15       except it said Mr. Dunker representing the

 16       corporation.        But at the time these documents were

 17       presented, Greenberg Traurig had asserted that they

 18       represented the corporation.

 19                THE COURT:        Let me just confirm again,

 20       although it is not in the motion, did Mr. Valdez

 21       obtain separate counsel when he was making the

 22       purchase?

 23                MR. DEES:       No, Your Honor.

 24                THE COURT:        He did not consult with my

 25       attorney?
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  1                MR. DEES:       The attorneys he was consulting

  2       with were Greenberg Traurig.                   And that was

  3       consistent with the testimony --

  4                THE COURT:        I understand, Mr. Waggoner.

  5                MR. DEES:       That was consistent with the

  6       testimony from Mr. Bracciale attached to the motion

  7       saying that Mr. Dunker from Greenberg Traurig acted

  8       as a neutral and also testified that he communicated

  9       with the parties and Mr. Valdez in connection with

 10       the transaction being the prom note, stock pledge

 11       and security agreement.

 12                THE COURT:        All right.          So he, Mr. Valdez,

 13       doesn't have any separate retainer agreement or

 14       letter -- other than the documents that you've

 15       already pointed out there is no additional

 16       documentation or correspondence that you are relying

 17       upon today.

 18                MR. DEES:       Not for separate counsel, Your

 19       Honor.     The closest thing we have, barring further

 20       discovery, is the payment of the invoices by

 21       National Sourcing again and again and again, I think

 22       there is eight of them listed.                    I would imagine that

 23       there are more during that time period and

 24       immediately after these documents were prepared

 25       through 2014.
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  1                THE COURT:        Let me take a look at the email

  2       again that you pointed out to me.

  3                MR. DEES:       And I have a courtesy copy for the

  4       court.

  5                THE COURT:        I do have it.

  6                MR. DEES:       Very good.

  7                THE COURT:        All right.          And your client was

  8       not copied on that email?

  9                MR. DEES:       No, he was not.              They were

 10       ultimately forwarded to him by Mr. Bracciale who at

 11       that time was in the employ of National Sourcing.

 12                THE COURT:        All right.          Okay.       Do you want to

 13       go on to talk about the nature of the action,

 14       whether it's related to the prior representation?

 15                MR. DEES:       I do, yes, the second prong, Your

 16       Honor.     Obviously there is the instruments

 17       themselves which are attached to our complaint and

 18       amended complaint.            Those are listed in this email.

 19       And so my understanding of the connection to the

 20       matter at issue for disqualification is that it has

 21       to be a relevant issue, not the central issue.                       In

 22       this case it is the central issue.

 23                Furthermore, our theory of the case from the

 24       plaintiffs is that these instruments as they are set

 25       up were designed to siphon off profits and control
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  1       to Mr. Bracciale in violation of federal statutes.

  2       So to the extent that the representation was also in

  3       connection with SDVO compliance, federal regulation

  4       compliance, it is the central theory of our case is

  5       that these instruments cannot stand.

  6                And we have more documents now that we've been

  7       able to do forensic searches.                   I know Your Honor is

  8       not going to entertain those today.                       However, at

  9       least the documents we have have a lot to do that

 10       we've included in the court file with SDVO

 11       compliance and that was the nature of the

 12       representation whether or not there was SDVO

 13       compliance.

 14                And so what I'm telling the court is that

 15       Greenberg Traurig represented National Sourcing in

 16       connection with the central theory of our case and

 17       the specific instruments connected with the

 18       pleadings.

 19                THE COURT:        Well, your complaint has a lot of

 20       allegations related to fraud and misrepresentations

 21       about valuation of the company.                     How does that

 22       relate to your contentions about what Greenberg

 23       Traurig did?

 24                MR. DEES:       That's right, Your Honor.                In the

 25       context of the federal regulations at issue which
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  1       are in the general allegations of my complaint, we

  2       have a declaratory judgment action to declare that

  3       these instruments are invalid as having been

  4       designed to skirt those regulations.

  5                THE COURT:        The documents are invalid?

  6                MR. DEES:       Unenforceable --

  7                THE COURT:        Which documents are you talking

  8       about?

  9                MR. DEES:       The ones attached to the email that

 10       I've shown from Greenberg Traurig, being the

 11       promissory note, the security agreement, the stock

 12       pledge.     Those documents were designed to afford

 13       Mr. Bracciale an unlawful level of control.                       And as

 14       I said in the general allegations of the pleadings

 15       we talk about -- and also in the declaratory

 16       judgment action -- that these documents violate

 17       those laws.       And to the extent they siphoned off

 18       millions of dollars to Mr. Bracciale, they are a

 19       violation of those laws.

 20                And so with the representation being both as

 21       to these particular instruments and also as to

 22       compliance, with Greenberg Traurig having designed

 23       the structure by which those profits could go to

 24       both Mr. Bracciale and Tek Source USA, it was an

 25       attempt to intentionally design that scheme to
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  1       siphon off those monies to get around the federal

  2       regulations that dictate that the SDVOSB must be

  3       owned by a veteran, a disabled veteran, and that

  4       disabled veteran must be the highest compensated

  5       employee of the company.                In other words, they found

  6       a work-around.

  7                So in the same breath that Greenberg Traurig

  8       is representing the company in connection with

  9       compliance, they're communicating directly with

 10       Mr. Bracciale, a National Sourcing employee, to help

 11       him design this transactional scheme to siphon off

 12       those monies.         And it's quite a bit of money, Your

 13       Honor.

 14                THE COURT:        Now, let me ask you, I know that

 15       there is a motion to dismiss pending.                         Do you have

 16       any argument related to whether it's premature to

 17       address this issue at this point, given the need to

 18       determine whether this I guess the conduct or

 19       actions of Greenberg are related to the allegations

 20       in the amended complaint and really the allegations

 21       in the amended complaint may not necessarily be

 22       finally determined as a result of the pendency of

 23       the motion to dismiss?

 24                MR. DEES:       Well, my answer may not please the

 25       court, but I think it's something that I have to
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  1       take up as soon as I can on behalf of National

  2       Sourcing and I think that with this new information

  3       that we've had to dig out in connection with the

  4       disqualification, there is a lot more color to add

  5       to a potential second amended complaint.                          And I

  6       can't speak intelligently to the very long motion to

  7       dismiss.

  8                However, I would say that the amended

  9       complaint that we have filed is very well documented

 10       in terms of exhibits and support and so there is

 11       enough of record to be able to address this now and

 12       I think I have to address this now.

 13                THE COURT:        Let me hear from Mr. Dees and then

 14       I'll give you an opportunity to respond.

 15                MR. WAGGONER:          Thank you.

 16                THE COURT:        Have you completed your argument?

 17                MR. DEES:       I have, Your Honor.                Beyond that,

 18       again, not to be repetitive, but the record is very

 19       clear and based on Mr. Bracciale's own testimony we

 20       understand that Greenberg Traurig represented the

 21       company and the company was certainly paying them

 22       for the very instruments that we're litigating

 23       before the court.           And the testimony has been that

 24       Greenberg Traurig definitely represented from

 25       Mr. Bracciale's testimony that Greenberg Traurig
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  1       definitely represented the company in connection

  2       with compliance issues and submissions to the

  3       federal government which are a central portion of

  4       the general allegations of the complaint is whether

  5       or not the company was compliant.

  6                THE COURT:        Let me hear from Mr. Tishman

  7       quickly.     Did I get your name right?

  8                MR. LILLY:        I'm sorry, Your Honor, Mr. Lilly.

  9                THE COURT:        Mr. Lilly.          I'm sorry.

 10                MR. WAGGONER:          Your Honor, obviously you can

 11       hear from anybody, but the motion has been filed by

 12       NSI who Mr. Dees represents.                   Mr. Lilly's client has

 13       not filed a motion to disqualify.

 14                THE COURT:        Right.       I will note that.           And if

 15       you will keep any additional remarks that you have,

 16       Mr. Lilly, brief.

 17                MR. LILLY:        I will, Your Honor.                Your Honor, I

 18       want to point out a couple of basic things to make

 19       certain that Your Honor is aware of them.                         Some are

 20       in the record.         There is another piece of litigation

 21       that's also going on amongst certain of these

 22       parties, not all of these parties, that is pending

 23       currently.       It was filed after this lawsuit, but it

 24       was filed in a state court case -- what we refer to

 25       as the state court action that's in the business
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  1       court.

  2                The business court has now scheduled an

  3       evidentiary hearing on disqualification of Greenberg

  4       Traurig to occur in the latter part of January.                         I,

  5       when I saw this motion filed, immediately

  6       requested -- I've done it in writing twice,

  7       beginning of November on the 6th and the 7th of

  8       November, asking to coordinate depositions both in

  9       this matter -- because Your Honor had scheduled this

 10       initial hearing -- but also in connection with the

 11       evidentiary hearing.

 12                There is now an order compelling Greenberg to

 13       attend depositions.             We're working on the dates of

 14       those, those are going to occur in January.                       But

 15       when Your Honor asked whether it's premature, I

 16       certainly understand NSI's position, but from

 17       Mr. Valdez's position we believe some discovery

 18       needs to go into these issues.                    And I would point

 19       out to Your Honor one of the most significant

 20       reasons for that is in the written response that was

 21       filed on November 1st, Attachment F, is a set of

 22       letters that we believe Greenberg Traurig drafted

 23       and they're using those as some indication of

 24       tantamount admissions by my client, Mr. Valdez --

 25                THE COURT:        Are you referring to the documents
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  1       that we're not going to talk about today?

  2                MR. LILLY:        I am not, Your Honor.

  3                THE COURT:        Okay.

  4                MR. LILLY:        I'm referring to the written

  5       response to the NSI motion and I'm specifically

  6       referring to docket entry 28-6.

  7                THE COURT:        I see.       Yes.

  8                MR. LILLY:        It is somewhat surprising to me

  9       that Greenberg Traurig pulled this out of its file,

 10       somewhat surprising Greenberg Traurig was not in my

 11       opinion candid about how they got it or the fact

 12       that they drafted it.              But it's a perfect example

 13       and the reason is you asked the questions about

 14       Mr. Valdez, it's a perfect example of where

 15       Mr. Valdez has in fact met with and relied upon

 16       Greenberg Traurig to make representations and assign

 17       representations that were made to the United States

 18       government.

 19                THE COURT:        Now, the action that is separately

 20       pending, is that the receivership action?

 21                MR. LILLY:        Well, Your Honor, it's not a

 22       receivership action, it's actually an effort to

 23       enforce the loan documents that are the subject of

 24       the claims that are brought before this court.

 25                So there is also a pending motion to stay that
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  1       underlying case.           The state court has decided now to

  2       set that for hearing as well and that's scheduled to

  3       occur on December 15th, but we are set -- the next

  4       two hearings in that case are a motion to stay the

  5       underlying state court case action as this one

  6       proceeds --

  7                THE COURT:        Was that action filed by

  8       Mr. Bracciale?

  9                MR. LILLY:        It was filed by Saint Anton

 10       Capital and Stephen Bracciale, yes, Your Honor.

 11                THE COURT:        All right.          Thank you for that.

 12                MR. LILLY:        Thank you, Judge.

 13                MR. WAGGONER:          Good morning, Your Honor.             Let

 14       me start with the last document that you were shown

 15       which was Exhibit 6 to Greenberg Traurig's response

 16       in opposition, just to briefly address it.                        You'll

 17       note that it's a letter dated September 16th, 2015.

 18       Greenberg Traurig stopped any representation of

 19       Mr. Bracciale in 2013.               So to the extent that this

 20       -- this document has nothing to do with Greenberg

 21       Traurig, they had no involvement in this whatsoever.

 22                So to the extent there is any suggestion that

 23       Greenberg Traurig was involved in this document is

 24       just factually mistaken and I'll talk about that as

 25       I go through some of the issues before Your Honor.
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  1                Let me start -- I want to back up a little bit

  2       and talk a little bit about specifics here because

  3       it's very important to focus on the specifics and

  4       what NSI is doing is painting with a very broad

  5       brush.     And before I get into those specifics, I'd

  6       also like to take a step back and address what it is

  7       we're really talking about and how this all got

  8       started.

  9                Well, what we're talking about is the fact

 10       than Mr. Valdez defaulted on a $5.1 million

 11       promissory note to a company owned by Mr. Bracciale.

 12       And so once he was in default on this promissory

 13       note, he began an effort to avoid paying the

 14       promissory note.           So Mr. Valdez and his attorneys

 15       directed NSI to file complaints against

 16       Mr. Bracciale and Ms. Tam, their companies.                           And in

 17       the end they took it even a step further and they're

 18       now seeking to disqualify Greenberg Traurig, the

 19       long time counsel to Mr. Bracciale.

 20                So NSI's request -- and again, it's only NSI

 21       that's moved for disqualification here.                           They're

 22       asking this court to impose what all courts

 23       recognize is one of the most drastic and one of the

 24       most disfavored remedies that's out there.                           Courts

 25       consistently hold that disqualification motions
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  1       should be viewed with skepticism because they're

  2       often interposed for a purpose, for a litigation

  3       purpose.     And what we have here is a $5.1 million

  4       note in default and now lo and behold Mr. Valdez's

  5       company is seeking to disqualify Greenberg Traurig.

  6                Courts consistently hold that there must be

  7       compelling circumstances and specific circumstances

  8       in order to justify disqualification.                         They have a

  9       high burden, Your Honor.                They can't paint with a

 10       broad brush, they can't just say things generally

 11       and ask Your Honor then to conclude that

 12       disqualification is appropriate.

 13                So contrary to what sort of has been intimated

 14       to you this morning, NSI did not hire Greenberg

 15       Traurig.     NSI never hired Greenberg Traurig, NSI

 16       never had an engagement agreement with Greenberg

 17       Traurig.     Mr. Bracciale and Ms. Tam hired Greenberg

 18       Traurig back in 2010 and I'll talk a little bit more

 19       detail about that in a moment.

 20                It is true that in the work that Greenberg

 21       Traurig did for Mr. Bracciale and Ms. Tam that they

 22       prepared a shareholder agreement that ostensibly was

 23       done for NSI.         That shareholder agreement, Your

 24       Honor, isn't even mentioned in this amended

 25       complaint that has been filed and it has no
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  1       relationship whatsoever with any of the claims that

  2       are involved in this matter.

  3                So the court has to focus on specifics and NSI

  4       hasn't come forward with any specifics to suggest

  5       that Greenberg Traurig was in fact representing NSI

  6       in these matters.           So with that sort of general

  7       background, I would like to kind of go through this

  8       in some detail and talk about the rules and the

  9       governing law.

 10                Their motion references both Rule 4-1.7 of the

 11       rules regulating the Bar and Rule 4-1.9.                          Rule 4-1.7

 12       has no application here because NSI is not a current

 13       client of Greenberg Traurig.

 14                So the question is was NSI a former client of

 15       Greenberg Traurig under Rule 4-1.9.                       And the

 16       analysis that the rules require and that the courts

 17       require is really two-fold.                  First is whether there

 18       was an attorney-client relationship between NSI and

 19       Greenberg Traurig; and then second, if there was an

 20       attorney-client relationship between NSI and

 21       Greenberg Traurig, are the claims in this current

 22       lawsuit the claims that NSI is now bringing against

 23       Mr. Bracciale and everyone, are those claims

 24       substantially related to whatever work Greenberg

 25       Traurig may have done for NSI.                    So that's the
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  1       analysis.

  2                So the first prong is is there an

  3       attorney-client relationship.                   Well, as I said,

  4       there is no engagement letter between Greenberg

  5       Traurig and NSI.           And the law is clear that when

  6       there is no formal engagement letter, a court looks

  7       to whether the client believes he is consulting a

  8       lawyer to seek professional advice.                       It's a

  9       subjective test.           It's not an objective test, which

 10       NSI's counsel argued to Your Honor, it's a

 11       subjective test.           And we cited the Jackson case in

 12       our papers regarding that.

 13                And the subjective belief has to be supported

 14       by specific facts that show that NSI believed that

 15       it was relying upon Greenberg Traurig as its

 16       counsel.     And as I go through this, Your Honor, I'll

 17       point out, there are no such facts.                       None have been

 18       pled, there is none in the verified motion.

 19                THE COURT:        Let me ask you, because we are

 20       dealing with a corporation and you're talking about

 21       subjective belief, how do we determine the

 22       subjective belief of a corporation?

 23                MR. WAGGONER:          The subjective belief of a

 24       corporation will be derived from the belief of its

 25       officers or directors.               And so as you go through
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  1       this story, you have Mr. Stanton in 2010 and it

  2       progresses forward until Mr. Valdez comes on the

  3       scene where he acquires stocks in 2012 and then

  4       becomes the sole owner of the company in 2013.

  5                And there is nothing in any of the papers that

  6       have been submitted that say that Mr. Stanton

  7       believed he was hiring Greenberg Traurig as his

  8       counsel; that the subsequent owner Mr. Wolfson, that

  9       he believed that he was engaging Greenberg Traurig

 10       as his counsel for NSI.               And there is nothing from

 11       the papers that NSI has submitted that say that

 12       Mr. Valdez believed that he was engaging Greenberg

 13       Traurig to represent NSI or himself.

 14                What the papers show is that Mr. Bracciale had

 15       significant interests that he was seeking to protect

 16       so he engaged Greenberg Traurig to represent his

 17       interests and Ms. Tam's interests.                       And he did work

 18       at the direction -- I'm sorry, Greenberg Traurig did

 19       work at the direction of Mr. Bracciale.                           So they

 20       have to come forward with specific facts that would

 21       establish an attorney-client relationship with

 22       Greenberg Traurig and I would submit to Your Honor

 23       that they haven't done that.

 24                Now, the second prong of the analysis is if

 25       there is an attorney-client relationship -- and I
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  1       preface that with if -- then the question is was the

  2       work that was done, is it substantially related to

  3       the current lawsuit.

  4                And as I mentioned before, there was

  5       incidental work done by Greenberg Traurig that

  6       benefited NSI, they prepared a shareholder agreement

  7       and they prepared some corporate minutes and bylaws.

  8                That work Greenberg Traurig undertook at the

  9       direction of Mr. Bracciale, but it states in the

 10       shareholder agreement that they were serving as

 11       counsel for NSI.           That work has no relationship

 12       whatsoever to any of the claims that are involved in

 13       this lawsuit.

 14                So for purposes of looking at the substantial

 15       relationship test, there is really no hard and fast

 16       rule on this, you have to look at the specific facts

 17       of the case.        What the Bar sort of counsels you to

 18       look at is, gee, is the lawyer switching sides and

 19       somehow saying I've done this work and I did it at

 20       Point A and now we're at Point B and I'm taking a

 21       different position and I'm saying, you know, that

 22       work that I did before, I'm criticizing that or I'm

 23       saying that that work wasn't properly done.                       And so

 24       you see that there has been a shift in the way the

 25       lawyer is representing a client.
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  1                There is no shift here where Greenberg Traurig

  2       is in any way saying, gee, the work that we did in

  3       preparing the shareholder agreement was somehow not

  4       properly done.         They're not taking that position at

  5       all.

  6                The other thing that you sometimes see in

  7       these substantial relationship cases is whether it's

  8       the same -- is it the exact same transaction.                            And

  9       I'll talk a little bit about some of the cases in a

 10       minute.     But the work that Greenberg did in terms of

 11       preparing the shareholder agreement or these

 12       minutes, they don't have anything to do with what's

 13       being alleged by NSI in this lawsuit, they're just

 14       unrelated to the claims that are being brought here.

 15                So they happened contemporaneously and it's

 16       part of the mix of things that were done in order to

 17       complete those transactions, but those documents

 18       aren't being questioned.

 19                So what Your Honor has to look at is both is

 20       there an attorney-client relationship with NSI; and

 21       to the extent there is or to the extent Greenberg

 22       Traurig did any work, is that work substantially

 23       related to what is at issue in this lawsuit?

 24                So I think it's also important to focus on

 25       what are they claiming in the lawsuit.                            And so NSI
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  1       has actually asserted four claims in the lawsuit.

  2       Their second claim, Count Two of the lawsuit, is for

  3       RICO and they bring it against Mr. Bracciale and

  4       Ms. Tam and their two companies.                     And they basically

  5       say that Ms. Tam's company, which I just went blank

  6       on the name of the company, issued fraudulent

  7       invoices and inflated charges to NSI.                         Tek Source.

  8                Well, who prepared the administrative service

  9       agreement?       Greenberg Traurig did.                  For Ms. Tam and

 10       Tek Source.       They didn't prepare it for NSI.

 11       Greenberg Traurig was engaged in 2010 by Ms. Tam and

 12       Mr. Bracciale and they prepared documents on their

 13       behalf.     So the document that NSI is complaining

 14       about and is suing about, Greenberg Traurig prepared

 15       for its client, Ms. Tam and Tek Source.

 16                So this idea that there is some type of

 17       relationship with NSI there is false.                         And the idea

 18       that there is some type of conflict that somehow

 19       Greenberg is now saying, well, it really prepared

 20       this document for NSI -- that's not true.                         Or

 21       somehow attacking the validity of that document,

 22       it's just not true.

 23                The only engagement letter here was in 2010

 24       with Mr. Bracciale and Ms. Tam.                     And pursuant to

 25       that engagement letter, this was one of the
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  1       documents that was prepared, the administrative

  2       services agreement that NSI is now complaining about

  3       and Greenberg Traurig is saying it was properly

  4       prepared for its client, Tek Source and Ms. Tam.

  5                The other thing that they raise in Count 2 is

  6       that Mr. Bracciale set up this ownership structure

  7       in order to somehow defraud Mr. Valdez or the

  8       government.       Well, what are they talking about?

  9       They're talking about the promissory notes that were

 10       entered into starting in 2011, I believe, and I'll

 11       go through those, the security agreement that bound

 12       the assets in order to pay back the promissory note

 13       to Mr. Bracciale.

 14                Who prepared that document?                   Greenberg

 15       Traurig.     Who did they prepare it for?                         Their

 16       client.     Their client asked them to prepare that

 17       document.      And eventually Mr. Valdez is the one who

 18       inherited or took over the one promissory note that

 19       he's now complaining about.

 20                But Greenberg Traurig didn't prepare that

 21       document for NSI, didn't prepare it for Mr. Stanton,

 22       didn't prepare it for Mr. Wolfson, didn't prepare it

 23       for Mr. Valdez.          These are documents that they

 24       prepared for their client.                 So they never

 25       represented NSI on those documents and they're not
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  1       somehow switching sides or suggesting that there is

  2       something wrong with those documents.

  3                So that's the RICO count.                  The other counts

  4       essentially go through the same set of documents.

  5       It's really the same thing.                  We don't want to pay

  6       this promissory note so we're going to come up with

  7       all sorts of theories why we don't have to pay it.

  8       So now we're going to claim there is a breach of

  9       fiduciary duty and aiding and abetting a breach of

 10       fiduciary duty.

 11                And what do they complain about?                         Well,

 12       Mr. Bracciale had this structure where he was

 13       getting these profits.               How was he getting these

 14       profits?     Through these promissory notes and through

 15       the security agreement that tied up the assets.

 16       Those were again documents that Greenberg Traurig

 17       prepared on behalf of its clients, not NSI.                           And

 18       we're not challenging those.

 19                And the same thing with the declaratory

 20       judgment count which is Count 5.                     They say that the

 21       security agreement which tied up NSI's assets is

 22       somehow illegal or invalid.                  Well, again, who did

 23       Greenberg prepare that for?                  Mr. Bracciale, not for

 24       NSI.    They say the administrative services agreement

 25       for Tek Source and Ms. Tam, they say that that's
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  1       invalid.     Who prepared that?                Greenberg Traurig, for

  2       Ms. Tam and Tek Source.

  3                THE COURT:        Let me ask you, you mentioned

  4       before that I should look at the shareholder or

  5       owner to figure out whether or not they subjectively

  6       believe they were represented.                    Is Bracciale in

  7       essence NSI?

  8                MR. WAGGONER:          Mr. Bracciale came to Greenberg

  9       -- backing up, the company was started in 2005 and

 10       it was an individual named John Stanton and

 11       Mr. Bracciale who conceived of going forward with

 12       this company.         Mr. Stanton was the service disabled

 13       veteran.     Mr. Bracciale was not a service disabled

 14       veteran, but Mr. Bracciale could provide services to

 15       the company.

 16                And so in 2010 Mr. Bracciale came to Greenberg

 17       Traurig for legal advice about how can my

 18       relationship with this company be structured --

 19       because he was not going to be the service disabled

 20       veteran.

 21                And so what was structured in 2010 was a

 22       consulting agreement and these promissory note

 23       relationships.         So Mr. Bracciale was not an officer

 24       at that point in time.               He eventually became a

 25       shareholder at a later point in time.                         But in terms
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  1       of who was acting for NSI and John Stanton was a

  2       sophisticated individual and you'll see that in the

  3       exhibits to the document where he was structuring

  4       different tax aspects of how this corporation was

  5       going to be set up and Mr. Bracciale was looking out

  6       to protect his financial interests.

  7                THE COURT:        Was Mr. Stanton represented by

  8       separate counsel?

  9                MR. DEES:       Mr. Stanton was, as I understand

 10       it, a CPA and he handled his own issues.                          And so

 11       when they formed the company in 2005 it was only

 12       Mr. Bracciale and Mr. Stanton, there weren't any

 13       attorneys involved.

 14                It wasn't until 2010 that Greenberg Traurig

 15       was consulted by Mr. Bracciale and Ms. Tam in order

 16       to help them deal with their sort of interests in

 17       this company because Mr. Stanton was having problems

 18       getting security clearance with the federal

 19       government.       So that's why they went to their

 20       counsel to get advice about how do we protect

 21       ourselves.       And so what ultimately --

 22                THE COURT:        Let me just ask you, was

 23       Mr. Stanton then told -- and again, this is not in

 24       the papers, so feel free to mention that back to me

 25       or it may be that we need to look at the documents
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  1       themselves.       But was Mr. Stanton told that Greenberg

  2       Traurig represented Mr. Bracciale and that it was

  3       not going to be joint counsel for all of the parties

  4       involved and that Mr. Stanton may need to obtain

  5       separate counsel and NSI may need to get separate

  6       counsel?

  7                MR. WAGGONER:          I'm going to look at one of the

  8       exhibits and see.           Okay.       What I was going to direct

  9       Your Honor to -- and I can't -- it's not in the

 10       record in terms of all of the communications that

 11       occurred between Mr. Stanton and Mr. Bracciale, but

 12       what is in the record is Greenberg Traurig's

 13       engagement letter.            And the engagement letter is

 14       with Mr. Bracciale and Ms. Tam and it specifically

 15       says that Greenberg Traurig -- this is Exhibit C to

 16       our opposition.          And it specifically says that

 17       Greenberg Traurig's scope of engagement does not

 18       include representation of Mr. John Stanton or

 19       National Sourcing Inc., but relates only to an

 20       analysis and recommendations related to your

 21       relationship with National Sourcing and Mr. Stanton.

 22                So that's what the engagement letter says.               I

 23       have no knowledge to believe that Mr. Bracciale

 24       represented anything inconsistent with this

 25       engagement letter to Mr. Stanton, but clearly
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  1       Greenberg Traurig was engaged to represent the

  2       interests of Ms. Tam and Mr. Bracciale.

  3                So that's who Greenberg Traurig has always

  4       worked for.       And NSI, who comes here and before Your

  5       Honor and asks to disqualify Greenberg Traurig, has

  6       to demonstrate that NSI had an attorney-client

  7       relationship with Greenberg Traurig.                        So they have

  8       not come forward with any evidence from Mr. John

  9       Stanton that said I believed that Greenberg Traurig

 10       was my lawyer and that I was relying on Greenberg

 11       Traurig.     They don't come forward with anything like

 12       that.

 13                And then Mr. Stanton left the company in

 14       2010 -- I'm sorry, 2011 because he had a security

 15       clearance problem.            And at Mr. Bracciale's request

 16       Greenberg Traurig then prepared the documents that

 17       are ultimately at issue in this case and they

 18       prepared them for Mr. Bracciale.                     They prepared a

 19       promissory note for the service disabled veteran who

 20       took the place of Mr. Stanton, it was an individual

 21       by the name of Mark Wolfson.                   And Mark Wolfson

 22       became the 51 percent owner of the company at that

 23       point in time and he signed this promissory note

 24       back in 2011.         This is the same promissory note that

 25       ultimately Mr. Valdez has stepped into the shoes of.
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  1                So here we are, we're back in March of 2011

  2       and Mr. Bracciale is protecting his financial

  3       interests by obtaining a promissory note from Mark

  4       Wolfson.

  5                There is no evidence before Your Honor that

  6       would suggest that Mr. Wolfson somehow believed that

  7       the lawyers who were representing Mr. Bracciale in

  8       drafting a promissory note and drafting the security

  9       agreement and the stock pledge agreement to protect

 10       that promissory note, that they were also

 11       representing him.           There is nothing to suggest that.

 12                And Your Honor, I would submit that that

 13       doesn't make any sense because that's not who

 14       Greenberg Traurig was representing; they were

 15       representing the interests of Mr. Bracciale and

 16       they're protecting the interests of Mr. Bracciale.

 17                So the note that's in question here was

 18       prepared by Greenberg Traurig on behalf of its

 19       client, Steve Bracciale and his company Saint Anton

 20       Capital, in March of 2011.                 And there is no evidence

 21       that anyone from NSI or Mr. Wolfson personally ever

 22       asked Greenberg to represent them.

 23                Now, it's not until 2013 when Mr. Wolfson has

 24       some security clearance problems that Mr. Valdez

 25       then steps into the shoes of this $5.1 million
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  1       promissory note.           So the note had already been

  2       prepared; it's just restated to change the maker

  3       from Mr. Wolfson to Mr. Valdez.                     So this is a note

  4       that goes back to 2011.

  5                And again, there is nothing in the record that

  6       suggests that Greenberg Traurig was representing

  7       anyone other than its clients, Steve Bracciale and

  8       his company Saint Anton Capital.

  9                Now, the other documents that were done sort

 10       of what I call the clean-up documents in order to

 11       finalize those transactions, they include the

 12       shareholder agreement that you heard about earlier

 13       that does include the paragraph where Mr. Dunker

 14       says that Greenberg Traurig is representing NSI on

 15       this document.         And it also includes some simple

 16       minutes in order to reflect that these are the

 17       transactions that are happening.

 18                So that is -- to the extent Greenberg Traurig

 19       represented -- and I'm putting quotes around that

 20       word -- represented NSI, it was simply to do these

 21       clean-up documents that were incidental.                          But those

 22       documents aren't what's at issue before Your Honor.

 23       I mean, the shareholder agreement deals with things

 24       like who can sell -- buy/sell between the company,

 25       the rights in terms of nondisclosure and
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  1       confidential information, termination of employees,

  2       nonsolicitation of employees.                   There is nothing

  3       about any of those issues that are involved in this

  4       litigation.       No one is saying this is about the

  5       shareholder agreement and Article 4 of the

  6       shareholder has been violated.                    There is nothing

  7       like that here.

  8                So the document in which Greenberg Traurig

  9       stated on its face that it was being done on behalf

 10       of NSI is not at issue in this case and so to the

 11       extent that Greenberg Traurig incidentally did

 12       anything for NSI in order to complete its work, it

 13       is not substantially related to the claims that are

 14       at issue here.

 15                The other thing I want to point out is when

 16       you're dealing with a corporation and someone has a

 17       relationship with a corporation and is asking that a

 18       lawsuit prepare documents for his or her benefit,

 19       the corporation is a party to those agreements as

 20       well oftentimes.           And so there are scenarios where

 21       it's like okay, this shareholder agreement, for

 22       example, is this something that the corporation

 23       wanted.     I guess so.          Does it benefit the

 24       corporation?        Did the corporation need minutes in

 25       order to reflect these transactions?                        Sure, it needs
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  1       those things.         They sort of incidentally benefit the

  2       whole picture.

  3                But the point is that even though work that

  4       Greenberg Traurig did for its clients, Mr. Bracciale

  5       and Ms. Tam, if it had some incidental benefit for

  6       NSI as well because it needed these documents for

  7       its corporate books or it needed a draft of

  8       something, that doesn't transform Greenberg Traurig

  9       into the attorneys for NSI.

 10                And there are a number of cases that stand for

 11       the proposition that even though you perform legal

 12       services that may benefit a corporation, that does

 13       not create an attorney-client relationship with that

 14       corporation.

 15                And I'll cite you a case because I'm not sure

 16       it's in our papers, but it's the In Re Lentech

 17       International case, it's 377 Bankruptcy Reporter 396

 18       at page 402 and it was affirmed by the Eleventh

 19       Circuit at 346 Fed. Appx. 430.                    So that stands for

 20       the proposition that even where an attorney prepares

 21       documents for his or her client that may benefit a

 22       corporation, that doesn't create an attorney-client

 23       relationship with that corporation.

 24                I have that in a case right now before Judge

 25       Williamson where I represent a law firm that
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  1       prepared documents at the direction of its client

  2       for the benefit of another related company and Judge

  3       Williamson has ruled in the FLTCI case that that did

  4       not create an attorney-client relationship with the

  5       company for whom that work was done.                        So I wanted to

  6       make that point.

  7                The other point I wanted to make is you heard

  8       this reference about bills.                  And again, paint with a

  9       broad brush.        Well, the only evidence before Your

 10       Honor is that the declaration or the affidavit of

 11       Mr. Bracciale who said the bills were sent to me

 12       because he was the client and to the extent NSI paid

 13       those bills, it was because NSI owed him money.                        And

 14       so he asked that in order for them to satisfy

 15       financial obligations to him, that they paid those

 16       bills.     So the bills weren't sent to NSI, they were

 17       sent to Mr. Bracciale.               And the fact that they paid

 18       them, they were satisfying an obligation to

 19       Mr. Bracciale.

 20                And even more importantly the law is very

 21       clear that even though some third party pays a legal

 22       bill, that in and of itself does not create an

 23       attorney-client relationship with that party.                        And

 24       we cited all of those decisions in our papers.

 25                So to kind of sum up, what Greenberg Traurig
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  1       did is that it prepared a number of documents in

  2       order to -- let me back up even further.                          Greenberg

  3       Traurig was hired by Mr. Bracciale and Ms. Tam in

  4       2010.    That's the only engagement letter that was

  5       ever entered into.

  6                In order to protect the interests of their

  7       clients, Greenberg Traurig did work at the direction

  8       of Mr. Bracciale and Ms. Tam over the next three

  9       years and that work essentially was the

 10       administrative services agreement, the consulting

 11       agreement for Mr. Bracciale, and then the promissory

 12       notes, the security agreement, and the stock pledge

 13       agreement, all done for Mr. Bracciale or Ms. Tam,

 14       all done to protect their interests.

 15                Those are the documents, those are the things

 16       that NSI is creating these claims about and claiming

 17       that somehow Greenberg Traurig represented them on

 18       that, yet they have provided no evidence of that.

 19       And it's illogical to assume that these documents

 20       were prepared -- which were prepared for these

 21       individuals were somehow being done for NSI, there

 22       is nothing to support that.

 23                The only work that Greenberg did was with

 24       respect to this shareholder agreement and some

 25       miscellaneous corporate documents, none of which are
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  1       at issue in this case and they certainly are not

  2       substantially related to any of the issues in this

  3       case.

  4                So they haven't demonstrated an

  5       attorney-client relationship between NSI and

  6       Greenberg.       And to the extent that they have pointed

  7       to some work done by Greenberg, it has no

  8       relationship whatsoever to the issues that are

  9       before Your Honor.

 10                The last thing -- I guess a couple final

 11       points.     This one thing they like to point about,

 12       the shareholders agreement in 2013, well, that's not

 13       even the operative shareholders agreement.

 14                Mr. Dunker has submitted a sworn declaration

 15       and he left Greenberg Traurig in October of 2013 and

 16       that's when Greenberg Traurig's work ended.                       So

 17       Mr. Dunker has submitted a sworn declaration and

 18       subsequent to leaving Greenberg Traurig there were

 19       some additional things that occurred at NSI and he

 20       worked on those and he prepared a new shareholders

 21       agreement because the shareholder relationship

 22       changed.     Mr. Valdez went from a 100 percent owner

 23       to a 51 percent owner with Mr. Bracciale owning the

 24       other 49 percent.

 25                So when that occurred, a new shareholders
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  1       agreement was entered in 2014.                    And so again, the

  2       2013 shareholder agreement that was done with the

  3       reference to Greenberg Traurig as being counsel to

  4       NSI, which has nothing to do with this case, it

  5       isn't even the operative shareholder agreement, it's

  6       the 2014 shareholder agreement and that has nothing

  7       to do with this case either.

  8                The final point that I would like to make is

  9       the courts that have looked at disqualification,

 10       they require compelling reasons, they require

 11       specificity.        They require, in order for the drastic

 12       measure to be imposed, that there is specific

 13       evidence of a law firm switching sides, having

 14       confidential information, somehow you're on opposite

 15       sides of the same transaction.                    We haven't heard

 16       that here.

 17                And there are cases which we've cited in our

 18       papers, the Fennick case, where the courts really

 19       look -- look, it's not good enough for you to just

 20       sort of talk about superficial relationships, you've

 21       got to delineate with specificity or we're not going

 22       to grant your motion.

 23                And there is the Frank Weinberg case where the

 24       lawyers were involved dealing with the same

 25       documents, but the court said that the nature of the
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  1       claims in the later case do not rise to the level of

  2       a substantial relationship that would require

  3       disqualification because a party's choice of counsel

  4       is so important.

  5                So when you're dealing with a case like this

  6       where you've got an individual who is trying to

  7       collect on money that's owed to him and the other

  8       individual then throws the kitchen sink in a broad

  9       manner in response and then takes the next step to

 10       disqualify that individual's counsel, I would submit

 11       to Your Honor it's a very high burden and that they

 12       have not met the burden.

 13                And so on the record before Your Honor we

 14       think it's clear that you can deny the motion for

 15       disqualification.           If you have any doubts -- and I

 16       hope you don't -- we would request an evidentiary

 17       hearing.     But I think the record is clear and they

 18       haven't met their burden.                 So I appreciate it.         If

 19       you have any questions, I'm obviously here.

 20                THE COURT:        The only other question I have is

 21       about the timing, given the pendency of the motion

 22       to dismiss, the same question to you:                         Is it

 23       premature at this point?

 24                MR. WAGGONER:          Well, I think, Your Honor, we

 25       believe the motion to dismiss is well taken and that
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  1       there are significant problems with the claims.                        And

  2       as those claims go away, there is either nothing or

  3       a narrower set of claims for the court to look at to

  4       determine whether there is any substantial

  5       relation -- was there an attorney-client

  6       relationship that Greenberg had with respect to any

  7       of the work done on the claims that remain?                        I don't

  8       think so.      I'm not sure what would remain.                    And then

  9       if so, was there a substantial relationship.

 10                So we think the motion to dismiss is well

 11       taken in that some or all of the complaint will be

 12       dismissed.       And so we defer to the court in terms of

 13       the order in which it wants to address these issues

 14       in terms of deciding what is the scope of the claims

 15       that it needs to evaluate from both the

 16       attorney-client and substantial relationship

 17       standpoint.

 18                THE COURT:        What consideration should be

 19       placed on the pendency of the case in state court,

 20       somewhat related to the collection of the note.

 21       Sounds like a motion to disqualify was filed there

 22       as well.

 23                MR. WAGGONER:          Your Honor, without a doubt

 24       this is one of those cases where there has been

 25       tactical decisions to make in terms of going to
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  1       different places and I'm not going to really comment

  2       on the propriety of those decisions.

  3                We're before Your Honor on a motion which we

  4       do not think is well made and does not satisfy the

  5       requirements and so that's why we're here and we'll

  6       obviously address in state court the same

  7       considerations to the extent we're required to do

  8       so.

  9                THE COURT:        So there is no argument that any

 10       deference should be placed on the state court

 11       proceeding, was that filed first or was the motion

 12       first filed there?            I'll give you a chance to speak

 13       after Mr. Waggoner.

 14                MR. WAGGONER:          My recollection of the timing

 15       is the NSI parties initially filed the suit in state

 16       court and the Bracciale parties filed a

 17       counterclaim.         There was some preliminary hearings.

 18       In fact, you were read some testimony from that

 19       hearing -- which, by the way, again painting with a

 20       broad brush, that testimony was Mr. Bracciale

 21       talking about the shareholder agreement, not all of

 22       the documents as was represented to Your Honor.

 23                After that hearing the plaintiffs dismissed

 24       their case.       They then filed this case here in this

 25       court and then another case got filed in state
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  1       court.     So in terms of first filed, I don't think

  2       that there is any priority issues that Your Honor

  3       needs to consider or worry about.

  4                THE COURT:        All right.          Thank you very much.

  5                Mr. Dees, and then I'll let Mr. Lilly, if you

  6       have any additional thoughts.

  7                MR. DEES:       As a point of clarification, Judge.

  8       Of the two pending actions, the one here and the one

  9       in state court, this one was filed first.

 10       Mr. Valdez filed an action prior to this action,

 11       which he subsequently dismissed in favor of refiling

 12       here.     And National Sourcing, the corporation,

 13       realigned with Mr. Valdez.                 But again, of the two

 14       pending actions, this one was filed first.                        The

 15       procedural background is a little more complicated

 16       than that, but those statements are true.

 17                MR. LILLY:        On further clarification on the

 18       filings, Your Honor, Valdez filed a case in state

 19       court initially against Ms. Tam, Mr. Bracciale, and

 20       also NSI that they subsequently 30 days later

 21       dismissed.       And they filed an initial federal claim,

 22       federal jurisdiction, it was a dec action.                        Judge

 23       Honeywell dismissed that claim to allow them to

 24       refile.     It was during that period of time that

 25       Mr. Bracciale and Saint Anton Capital filed the
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  1       state case.       Thereafter during that time period that

  2       Judge Honeywell allowed counsel to refile is when

  3       they filed the complaint with this RICO action that

  4       is the subject of dismiss.

  5                MR. WAGGONER:          I don't think that's quite

  6       right, Your Honor, but --

  7                THE COURT:        I can take a look at the

  8       documents.

  9                MR. WAGGONER:          Please do.

 10                THE COURT:        All right.          Thank you.

 11                MR. DEES:       Counsel mentioned -- put an

 12       emphasis on the promissory note which is at issue

 13       from 2013, the debt instrument.                     Again, that debt

 14       instrument was transmitted with the shareholder

 15       agreement that expressly says that Greenberg Traurig

 16       represents National Sourcing and it was part of a

 17       single transaction.

 18                And the quote from the email from Mr. Dunker

 19       at Greenberg Traurig, "I have prepared the attached

 20       documents to effect the transfer of Wolfson's 51

 21       shares of NSI to Pedro Valdez."

 22                These all traveled together, they were all at

 23       the same time.         And of those documents that were

 24       transmitted, the only one that has an assertion of

 25       who Greenberg represents says that Greenberg
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  1       represents the corporation at that time.

  2                Now, counsel mentioned the subjective

  3       understanding of who the firm represents.                         And Your

  4       Honor asked an astute question with regards to where

  5       does that understanding come from.                       And the answer

  6       was the officers.           And I agree.

  7                So one example of NSI's subjective

  8       understanding of who represented them would be the

  9       representation in the documents themselves from the

 10       transaction.        Another example of who NSI could have

 11       subjectively and does subjectively understand to

 12       have represented them is the payment of Greenberg

 13       Traurig's invoices on checks signed by Mr. Valdez

 14       and there is a litany of them, including the invoice

 15       that would appear to be the invoice for these very

 16       documents in April of '13.                 So they're paying for

 17       these documents as they're receiving them.

 18                Another one would be the actual checks

 19       themselves signed by Mr. Valdez, an example of which

 20       we've included in the document.                     And another source

 21       of understanding of who represented National

 22       Sourcing would be Mr. Bracciale's own testimony and

 23       Mr. Dunker represented National Sourcing and

 24       Mr. Valdez.       And you need to ask Mr. Valdez of who

 25       he subjectively understood represented the
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  1       corporation because Mr. Bracciale has testified that

  2       Mr. Dunker did in connection with at least some

  3       transactions.

  4                So if the standard is I have to show a

  5       subjective understanding of who represented the

  6       corporation and they have talked a lot about this

  7       engagement letter from 2010, their response was the

  8       first I'd heard of this engagement letter, it was

  9       the first the current management of the company had

 10       heard of this engagement letter.                     We've certainly

 11       have heard of no conflict, waiver or disclosure.                       It

 12       would have been awful nice for the corporation to

 13       know who was actually represented and whose

 14       interests were actually at heart because these

 15       transactional documents that are attached are not

 16       with Mr. Bracciale or Ms. Tam, they're with Saint

 17       Anton Capital; Mr. Wolfson, the former president's

 18       resignation from NSI; the shareholder and director

 19       meeting minutes for National Sourcing, NSI; the

 20       promissory note to Saint Anton; the security

 21       agreement in favor of Saint Anton; the stock pledge

 22       agreement in favor of Saint Anton.

 23                Mr. Bracciale is not made out for signature as

 24       a shareholder/director of these meeting minutes.                       So

 25       this representation that we're suddenly learning
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  1       about who they represented, it would be inconsistent

  2       with both the documents themselves expressly

  3       written, the payments being made, the invoices being

  4       tendered, Mr. Bracciale directing the company to pay

  5       these invoices, the nature of the issues that

  6       Greenberg Traurig is looking into.                       If I have to

  7       show subjective understanding, I certainly have a

  8       reasonable basis for this.

  9                And if one document from 2010, an engagement

 10       letter, and that no one at NSI knows about, is the

 11       basis for saying well their understanding was

 12       unreasonable, then I have a mountain of contrary

 13       evidence, some of which I would -- if the court

 14       would entertain it, could present through an

 15       evidentiary hearing because I think that this issue

 16       is that important.            Mostly because Greenberg Traurig

 17       is sitting on a mountain of paper by my estimation

 18       that was tendered by my client, National Sourcing,

 19       full of confidential information.

 20                They can produce and put in the record as much

 21       as they want, but I'm sitting here in the dark

 22       because the CEOs of this company are tendering them

 23       tons of information.             And that's why this motion is

 24       to important, that's why we're pressing.                          And it's

 25       not a tactical play, it's simply because they have
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  1       more info than I do.             It puts me in a distinct

  2       disadvantage and prejudiced in litigating the case.

  3                So that's our record that we have for today.

  4       We can present far more because we've been digging

  5       deep down into archive documents and old hard drives

  6       and dusty old boxes to try to find as much as we

  7       could and there is more to tell the court which I'll

  8       be pleased to do.

  9                THE COURT:        Well, nothing has precluded you

 10       from filing affidavits, so I don't want to leave the

 11       hearing with you saying you have additional

 12       information that you could present that you were

 13       precluded from presenting that information.

 14                MR. DEES:       And I don't think the court is

 15       precluding me today if I have to renew the motion as

 16       we get into the discovery process.                       The reason the

 17       motion is filed with as much documentation as we

 18       have available which was substantial by my

 19       estimation is because we don't want to waive the

 20       issue, we want to preserve the issue.                         I think by

 21       the time we get to the end of the case, we could

 22       have a separate trial just on this issue, that's how

 23       much documentation we're uncovering.

 24                So for today's purposes though, I think there

 25       is more than enough and I would submit that to the
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  1       court.

  2                THE COURT:        Thank you, Mr. Dees.

  3                Mr. Lilly, anything to add?

  4                MR. LILLY:        Yes, Your Honor, I'll be brief.

  5       Your Honor, I want to point out a couple of basic

  6       facts that I think are of record in the case and may

  7       not necessarily jump out immediately just in looking

  8       at the pleadings.

  9                The promissory notes that are at issue in the

 10       complaint that was filed, the amended complaint, and

 11       those promissory notes are part of this action

 12       that's here before Your Honor, those promissory

 13       notes contemplate on their face that they're not

 14       going to be paid.           They contemplate on their face

 15       that they are going to be satisfied by a taking of

 16       the underlying stock.              It is the stock transaction

 17       that this lawsuit before Your Honor is about and

 18       they have to do with that.                 And we're looking at

 19       objective or subjective statements by the lawyers

 20       who drafted them that they represented National

 21       Sourcing Inc.         in connection with the transaction.

 22                I believe that Mr. Dees has made the point

 23       initially of the objective standard being the

 24       standard that would be a higher standard than the

 25       subjective standard because under our manner of
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  1       representation as Florida lawyers, as members of our

  2       bar, we are supposed to look out for the interests

  3       of opposing parties when they are not represented by

  4       counsel particularly in the context of a corporate

  5       representation, to make it very clear and to give

  6       disclosures to Mr. Valdez, to Mr. Wolfson, et al.,

  7       in respect to exactly who it is that we are

  8       representing.

  9                The representation made on April of 2013 in

 10       connection with the transactions, the stock

 11       transactions that are squarely at the center of this

 12       case, was made by Greenberg Traurig that it

 13       represented National Sourcing Inc.                       That is the

 14       actual representation that was made and the email

 15       that is before Your Honor that is part of the motion

 16       to disqualify.

 17                Secondarily, attached to the motion to

 18       disqualify is a sworn statement in open court by

 19       Mr. Bracciale who also states in the record before

 20       you that he is the sole owner and director of Saint

 21       Anton Capital.         He states that in connection with a

 22       series of documents he was questioned about,

 23       including the promissory notes that are clearly at

 24       issue here, including the shareholder agreement if

 25       you read through that transcript that's attached, he
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  1       states that it was his belief that Mr. Dunker

  2       represented National Sourcing Inc. and Mr. Valdez

  3       and himself.

  4                Now, the really critical point that we really

  5       haven't discussed yet is that's a judicial estoppel

  6       issue.     He now comes before you asking you to take a

  7       different position than what his sworn statement was

  8       in the court.         Now, I would point that out as part

  9       of what we're analyzing.

 10                I believe that an evidentiary hearing is

 11       appropriate.        I certainly understand that Greenberg

 12       Traurig is trying to make an argument that back in

 13       2010 it may have told Mr. Stanton, a prior person in

 14       Mr. Valdez's shoes, that it did not intend to

 15       represent NSI or Mr. Stanton, but that's not what's

 16       really said in the papers.                 That's something that's

 17       trying to be argued today, but I don't see any

 18       statement in the papers before you yet that that was

 19       stated.

 20                But even if it was, the representation clearly

 21       morphed because 2010, if you read the engagement

 22       letter that they have placed before Your Honor, they

 23       say that that engagement letter only relates to the

 24       matter they were dealing with in 2010.                            They then

 25       went on to do a series of additional representations
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  1       going up through 2014.               There is a statement of

  2       record that Mr. Dunker left the firm at the end of

  3       2013 but it is belied by the emails sent to his

  4       email address in the latter part of 2014.

  5                So we have some very significant evidentiary

  6       issues that we would like to bring before Your

  7       Honor.     This is a very significant issue that has

  8       bearing on the case and I believe it does go

  9       squarely to the questions at issue before Your Honor

 10       in this case.

 11                THE COURT:        All right.          Thank you.

 12                MR. WAGGONER:          Your Honor, I'll try not to

 13       beat a dead horse.            Just a couple points.               The email

 14       that relates to these 2013 documents that was

 15       referred to, it is Document 25-5 and it's the one

 16       that involves the $5.1 million note, it is from Bill

 17       Dunker to Steve Bracciale and it's not to anyone

 18       else.    And it says, "Steve, per your direction," and

 19       then he encloses these various documents.

 20                The documents that we're talking about, the

 21       promissory note that is at issue, it's not a

 22       promissory note that NSI is even a party to, it's a

 23       promissory note between Mr. Valdez and

 24       Mr. Bracciale.         So I mean, again, NSI is moving to

 25       disqualify based on a promissory note that it's not
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  1       even a party to.

  2                And then Mr. Dunker's affidavit that was just

  3       referred to in which he talks about the shareholder

  4       agreement -- first of all, the shareholder agreement

  5       that they talk about, which was prepared in 2013,

  6       not even the operative agreement, but the one that

  7       was prepared in 2013 Mr. Dunker points out that he

  8       was serving in a neutral capacity in drafting that

  9       document.      And again, the shareholder agreement has

 10       absolutely nothing to do with any of these claims,

 11       you don't hear anybody complaining about a provision

 12       of the shareholder agreement.

 13                So when you bring a serious motion about

 14       trying to disqualify a party's counsel and then you

 15       walk into court and say gosh, I want to do this, I

 16       want to do this, I could have done that, I should

 17       have done that -- well, they didn't do any of the

 18       things they're supposed to do and they didn't come

 19       forward with evidence and they haven't met their

 20       burden.     And so Your Honor, respectfully we would

 21       request that the motion be denied.                       Thank you.

 22                MR. DEES:       One sentence, Your Honor, that the

 23       email is directed to NationalSourcing.com, the

 24       company 's email address and server, to an employee

 25       of the company.
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  1                THE COURT:        There have been statements,

  2       Mr. Dees, and I just want to narrow and clarify this

  3       issue for the record.              Mr. Dees, you mentioned that

  4       you believe that there is sufficient information to

  5       make a decision and that in consideration of all the

  6       material that you have submitted that is sufficient,

  7       you indicated you may need to renew the motion if

  8       needed at a later time, but you are not requesting

  9       an evidentiary hearing.

 10                MR. DEES:       An evidentiary hearing could be

 11       beneficial, that's why we filed this sworn

 12       declaration.        There is quite --

 13                THE COURT:        If I have the sworn declaration,

 14       then why do I need an evidentiary hearing?

 15                MR. DEES:       You could consider the sworn

 16       declaration in and of itself.                   My understanding --

 17       it's a little different in state court, but the

 18       court can rule on the papers in federal court on a

 19       motion to disqualify.              And if the court would

 20       consider that, I think there would be quite a bit

 21       more evidence to go through.

 22                THE COURT:        I didn't say that I won't consider

 23       it, I didn't strike it, I just am not going to have

 24       the argument about that today because of just the

 25       time that it was filed.
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  1                MR. DEES:       Understood.

  2                THE COURT:        But I do plan to consider it.          So

  3       do you believe an evidentiary -- are you seeking an

  4       evidentiary hearing?

  5                MR. DEES:       At this time if the court would

  6       entertain it, yes, but there is quite a bit more

  7       documentation that the court could consider there in

  8       this sworn declaration and more than enough to grant

  9       the motion or consider the motion.

 10                THE COURT:        So you're not seeking one.

 11                MR. DEES:       No, I am not on behalf of the

 12       company, if the court will consider the sworn

 13       declaration.        I suppose it's a conditional --

 14                THE COURT:        I did say that I am going to

 15       consider it.

 16                MR. DEES:       Very good.

 17                THE COURT:        So then you're not seeking one.

 18                MR. DEES:       Not on behalf of the corporation.

 19       My understanding is the individual may wish to,

 20       but --

 21                THE COURT:        Now, you, Mr. Lilly, did not file

 22       a motion and you did not join in the motion, so I'm

 23       not going to set an evidentiary hearing based on

 24       what your contentions are here in court today, but

 25       you certainly are free to file a separate motion,
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  1       you're free to join in that motion.                       What do you

  2       think is needed additionally in the way of evidence

  3       that hasn't already been presented?

  4                MR. LILLY:        Your Honor, should I speak from

  5       here or to the podium?

  6                THE COURT:        Whatever makes you comfortable is

  7       fine.

  8                MR. LILLY:        I just want to make sure I'm heard

  9       on the record, but I think this mic will pick me up.

 10                THE COURT:        Yes, it will.

 11                MR. LILLY:        Your Honor, what I would like to

 12       do, and I certainly intend to join in the motion or

 13       file a separate motion, but what I would like to do

 14       is to conduct limited discovery.

 15                I've been clear on the record here today that,

 16       number one, I requested the discovery to be clear, I

 17       sent multiple emails to it, I received responses

 18       back from Greenberg Traurig, no, we're not going to

 19       do that.     We clearly have not yet opened the

 20       discovery in this matter.                 However, in the state

 21       court matter the discovery has opened.                            The judge

 22       has now ordered Greenberg Traurig to sit for the

 23       depositions and I believe that for Your Honor to

 24       consider, candidly, the written responses, the

 25       affidavits that are before Your Honor in the
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  1       response, my client should have an entitlement to

  2       cross-examine those.

  3                We are certainly going to be doing that in the

  4       context of depositions that will be taken at least

  5       by mid January, but I would like to open the

  6       discovery in both matters, at least on the limited

  7       issues involving this motion or my joinder in this

  8       motion.

  9                THE COURT:        All right.          Now, if you have any

 10       case, Mr. Lilly, that says that you are entitled to

 11       have an evidentiary hearing on this issue, please

 12       let me know that by filing a document.

 13                Now, also what I heard you say is that you

 14       would like to conduct discovery to develop

 15       additional information and I take that to mean, and

 16       you correct me if I'm wrong, that you don't have any

 17       additional information that you would present at

 18       this time.

 19                MR. LILLY:        Your Honor, at an evidentiary

 20       hearing that would include Mr. Dunker being present,

 21       I have quite a bit of information to present for

 22       today's hearing.

 23                THE COURT:        That you would need to conduct

 24       discovery to obtain that additional evidence.

 25                MR. LILLY:        Your Honor, I would have been
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  1       happy to do it in live court because I don't think

  2       it's going to take more than 45 minutes to elicit

  3       what I believe are false statements in the

  4       affidavits.

  5                I also would like to present evidence through

  6       Mr. Bracciale.         I believe that I can get those

  7       evidence points through those and I would like to

  8       present Mr. Valdez.             Those are the parties that I

  9       would like to present.               But we intended -- which of

 10       course the state court has opened, we intend to do

 11       more discovery than that because there may be more,

 12       there may be more issues.                 But I believe that those

 13       at the very least should be considered at the time

 14       of the decision on this particular motion.

 15                THE COURT:        All right.          So discovery can't

 16       proceed in this case yet until there is that case

 17       management meeting, that you all have that case

 18       management conference and specify certain dates and

 19       then you receive a case management or case

 20       scheduling order from Judge Honeywell.

 21                So until that occurs, you are really precluded

 22       in conducting discovery, so I urge you all to go

 23       forward and have that meeting if you would like to

 24       conduct that discovery.               And your response does

 25       indicate to me that at this time you don't have any
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  1       additional evidence that you would present, but that

  2       if you were able to conduct discovery, you believe

  3       that you can develop additional information.

  4                Is there anything -- now, you also mentioned,

  5       Mr. Waggoner, about the evidentiary hearing.                         Let me

  6       just have you for the record state your position

  7       related to that.

  8                MR. WAGGONER:          Your Honor, we believe that on

  9       the record before you no evidentiary hearing is

 10       required because NSI has not come forward with any

 11       evidence to contradict the sworn testimony through

 12       Mr. Dunker and Mr. Bracciale's affidavit.                         They

 13       haven't come forward with the evidence that they

 14       would need to show the attorney-client relationship

 15       between NSI and Greenberg, nor have they come

 16       forward with any evidence to demonstrate a

 17       substantial relationship for those incidental work

 18       that Greenberg did.

 19                The law on the issue is that a court does not

 20       need to have an evidentiary hearing to deny a motion

 21       for disqualification where there is no conflict of

 22       material issues relating to the affidavits that have

 23       been submitted and that's the case out of the

 24       Southern District, State Farm vs. Kugler, there is a

 25       Westlaw site, 2012 Westlaw, 12868733.
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  1                If the court believes there is a conflict --

  2       and again, we don't believe there is a conflict, but

  3       if the court does believe there is a conflict in the

  4       evidence, then an evidentiary hearing would be

  5       required.      But again, they have not submitted any

  6       evidence to support their position.

  7                So we're not requesting an evidentiary hearing

  8       and we believe that the motion should be denied

  9       based on the record before Your Honor.

 10                THE COURT:        All right.          I did not hear any

 11       conflicts in the evidence at this point either.

 12                Mr. Lilly, what I will do, given your intent

 13       to -- do you plan to join in the motion or do you

 14       plan to file a separate motion?

 15                MR. LILLY:        Your Honor, I would like to join

 16       in the motion and have the opportunity to file.                         I

 17       do want to be clear, I do believe there are things

 18       that I can file now.             However, I believe that it's

 19       incumbent upon me as an officer of this court to do

 20       a proper investigation.               I'm trying to do that

 21       through discovery.            I believe that that's

 22       appropriate in this circumstance.                      So I have come

 23       here today, I would like an opportunity to present

 24       evidence in this motion --

 25                THE COURT:        You can file -- actually, here's
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  1       the situation.         You can file your motion whenever

  2       you deem it appropriate.                I am not going to hold off

  3       on making a decision on the pending motion, however.

  4       So because you clearly had notice of it and I was

  5       kind of for a moment contemplating whether or not I

  6       would wait for you to file a separate motion and

  7       then there be additional response, but my thought is

  8       that if you plan to file an entirely separate

  9       motion --

 10                MR. LILLY:        Your Honor, I would prefer to join

 11       in this motion and request an evidentiary hearing.

 12       That is my preference.               And that is what I am doing

 13       today, I am joining in the motion and requesting an

 14       evidentiary hearing.

 15                THE COURT:        If you would just file just a

 16       short document that says that, that would be helpful

 17       just for the record.

 18                MR. LILLY:        Certainly.

 19                THE COURT:        I am not going to grant -- likely,

 20       I'll have to take a look at your motion, but it's

 21       very unlikely, given at least what you have said

 22       here, that I'm going to set the motion for

 23       evidentiary hearing because I am hearing you say

 24       that you can develop additional evidence but you

 25       would be developing that evidence through
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  1       questioning and cross-examination, not necessarily

  2       through documents or discovery that you already

  3       have.    So what you're anticipating is that you would

  4       conduct additional discovery and then you would have

  5       that to use in support of your motion.

  6                MR. LILLY:        Your Honor, let me try to be a

  7       little more clear.            The affidavit of Mr. Dunker that

  8       is before you states that Mr. Dunker left the law

  9       firm of Greenberg Traurig in November of 2013.                            I do

 10       have evidence that that's not true.                       I do have

 11       evidence I would like to present to Your Honor about

 12       that.

 13                The problem is the witness who I would need to

 14       do that through is adverse to my client.                          It is

 15       Mr. Dunker himself.             Mr. Dunker himself, I have

 16       actual emails from 2014 with his email address at

 17       Greenberg Traurig.            I have additional information --

 18                THE COURT:        Why can't you file that in an

 19       affidavit from your client?

 20                MR. LILLY:        From my client?             I could file

 21       those in an affidavit from my client, Your Honor, I

 22       can do that.        But my client is not necessarily the

 23       witness to those emails.                And that's the problem

 24       that I face and the reason that I believed it was

 25       appropriate to take discovery and the reason that
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  1       I've asked for that in the state court case and the

  2       state court judge has agreed and compelled the

  3       discovery.

  4                THE COURT:        Whatever evidence that you would

  5       like to submit, if you do believe that it is in

  6       conflict with the evidence that has already been

  7       submitted, submit that in the form of a written

  8       document.

  9                MR. LILLY:        Yes, Your Honor.

 10                THE COURT:        All right.          And then if it does

 11       turn out that it appears to conflict with any of the

 12       evidence, then I'll have to revisit the view about

 13       the need for an evidentiary hearing.

 14                When will you file the joinder?

 15                MR. LILLY:        Your Honor, we are scheduled to

 16       respond to the motion to dismiss one week from

 17       today.     I would request an opportunity to file that

 18       within 10 days of today.                Your request as to my

 19       joinder and my evidence I would file it within 10

 20       days of today.         I would normally ask for a week, but

 21       I do have to deal with that motion to dismiss that's

 22       significant on my plate.

 23                THE COURT:        All right.          Given that you are

 24       only going to have -- need a short period of time to

 25       file that, I will wait until you file that before
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  1       making any decision, especially considering whether

  2       or not it may, as you represent, present some sort

  3       of conflicting information.

  4                Mr. Waggoner, I presume that you all will then

  5       want to respond to that in due course?

  6                MR. WAGGONER:          We will, Your Honor, and we

  7       also will want to respond to the declaration or

  8       affidavit that was submitted on Sunday night.

  9       Candidly, there is really not anything new in there,

 10       but I think there is probably some clarification

 11       because, again, specifics rather than broad brushes

 12       is important here and we'll want to respond in order

 13       to make sure that that's clear before Your Honor.

 14                THE COURT:        And I mentioned that you would

 15       have 20 days to respond to that declaration and so

 16       at that time you can also respond if Mr. Lilly has

 17       filed a separate motion and separate declaration you

 18       can include your response.

 19                MR. WAGGONER:          That would be fine, Your Honor,

 20       thank you.

 21                THE COURT:        All right.          Is there anything

 22       additional?

 23                MR. LILLY:        Nothing at this time, Your Honor.

 24                MR. WAGGONER:          Nothing here, Your Honor.

 25                THE COURT:        To your recollection we are in
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                                                                              78


  1       recess.

  2                (The proceedings adjourned at 11:41 a.m.)

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                                                                              79


  1                             C E R T I F I C A T E

  2

  3       STATE OF FLORIDA                      )

  4       COUNTY OF HILLSBOROUGH                )

  5           I, Lynann Nicely, RMR, CRR, Official Court

  6      Reporter for the United States District Court, Middle

  7      District, Tampa Division,

  8           DO HEREBY CERTIFY, that I was authorized to and

  9      did, through use of Computer Aided Transcription,

 10      report in machine shorthand the proceedings and

 11      evidence in the above-styled cause, as stated in the

 12      caption hereto, and that the foregoing pages,

 13      numbered 1 through 79, inclusive, constitute a true

 14      and correct transcription of my machine shorthand

 15      report of said proceedings and evidence.

 16           IN WITNESS WHEREOF, I have hereunto set my hand in

 17      the City of Tampa, County of Hillsborough, State of

 18      Florida, December 15, 2017.

 19

 20

 21                      /s/ Lynann Nicely
                              Lynann Nicely, RPR, RMR, CRR, CRC
 22                       Official Court Reporter

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                     Lynann Nicely, Official Court Reporter, 813-301-5252
